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                                                                                       U.S. BANKRUPTCY
                                                                                       COURT - :'3$
                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

    In re: U LOCK INC. a/k/a               )
    U-LOCK INC.                            )       Case. 22-20823-GLT
                                           )
                           Debtor.         )
                                           )       RE: Motion 345


       OBJECTIONS OF GEORGE SNYDER TO CONSENT MOTION TO APPROVE
                        SETTLEMENT AGREEMENT

           I am an officer of the debtor U Lock. I file this objection in my personal capacity and

    as a creditor even though the motion lists only the Trustee Robert Slone as the Respondent.

           I have reviewed the Consent Motion and I have many concerns.

           The first thing is that I did want to object to the claims filed by Christine Biros. There

    has not been a deadline set to do that. I was waiting to see how the dispute between Shanni

    Snyder and Ms. Biros turned out because how this Court rules would implicate a decision and

    address many of the things I am concerned above.

           The second thing is, while I am not an attorney, I thought the Trustee was the one who

    usually files to approve his settlement and that in his motion he would explain why he acted

    in good faith and why it made business sense. When I look at this motion, it seems like as

    from the start, it is Ms. Biros driving the car with the Trustee in the back seat. I say that

    because the Trustee didn’t even sign the motion or put his name on it. It’s only Ms. Biros

    arguing why it should be settled. With respect to the settlement agreement, I assume the

    Trustee at least read it since he did sign it. So I am a little concerned that maybe the Trustee

    just wants to get this case over with and give Ms. Biros everything there is to give. So let me

    go point by point.

           The Administrative Expense Claim of $2,000 a Month Post-Bankruptcy

           I assume Ms. Biros started out with this as its the most reasonable. I did object to her

    Motion for Administrative Expense Motion which should ask for $2,000, but does not. It
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    asks for a lot more. I assume that is to make this look like a compromise. I am not sure why

    she didn’t just ask for the $2,000 a month in the Motion for Administrative Expense and

    instead asks for $63,000 in that motion knowing what the Court explained to her before. I

    will address the $63,000 in the other motion in case Your Honor doesn’t resolve this by

    settlement.

           I think the Court’s estimate of $1,500 is more logical considering from the getgo,

    Your Honor gave her almost unfettered access to the property while she “remediated.” She

    prolonged the possession of the property by the Estate by doing funky things, hiding the

    assets, blocking the tenants with a 24 hour chain since October 2022, and calling the police

    on them when they tried to get their things.

           But I have a real problem with the Court approving this considering Biros’ attempt to

    double whammy by asking for 2022 property taxes to be paid for by U Lock as I explain

    below. She can’t have her rent and her taxes too.

           The Biros Tax Claim

           Next the Trustee seeks to just give her a priority administrative claim for property

    taxes. It is clear that he didn’t investigate this at all because Ms. Biros completely

    mischaracterizes what happened in the Supreme Court of Pennsylvania.

            I cannot understand how Ms. Biros can seek rent for 2022 in addition to seek to make

    U Lock pay the property taxes. The letter the Trustee signed says, “Since the Petition Date,

    another $6,201.87 has accrued.” So why does U Lock pay both rent and property taxes. This

    is a continuation of Ms. Biros taking bits and pieces of decisions and twisting them into

    something else. In addition, the Order they cite does not contemplate that U Lock would be

    sharing possession with Ms. %LURV

           See the Pennsylvania Supreme Court entered that Order about the property taxes at

    the request of Ms. Biros who didn’t tell the Court that she had the judge give her the deeds.
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    The Supreme Court thought that the Order delaying remission of the record was a continued

    stay of the case so, at Ms. Biros request, which U Lock didn’t oppose because it too didn’t

    know that Biros filed deeds.

             The Supreme Court of Pa. denied review of the case on January 19, 2022. But they

    don’t return jurisdiction to the lower court because U Lock could seek reconsideration or

    apply for a delay to go the United States Supreme Court. Nobody knew that on January 20,

    2022, Mr. Otto’s paralegal had a private communication with the Court of Common Pleas

    Judge’s law clerk resulting in that Order.

             Under P.R.A.P. 1701(a) to continue the stay of the case, I had U Lock ask the state 

    Supreme Court to stay the remand of the record pending the time allowed to petition the

    United States Supreme Court. I attach a copy of the motion as Exhibit A.

             Biros filed a request on Feb 15 2022 never telling the PA. Supreme Court she

    obtained the deeds and filed them and she requested the stay be conditioned upon U Lock

    paying the property taxes on the property. I attach that as Exhibit B. Biros said “Real estate

    taxes have accrued on the Property, and taxes for the years 2019, 2020 and 2021 remain

    unpaid. Real estate taxes in the amount of Nineteen Thousand Seven Hundred Seventy-Three

    and 41/100 Dollars ($19,773.41) are currently owed on the Property.”

             Implying U Lock still owed the property, %LURVwrote, “These are real estate taxes

    whichare owed by Petitioner to local taxing authorities, not to Respondent.” Biros said,“The

    realestate taxes are a legitimate debt of Petitioner to third parties; in this case, local taxing

    authorities.Failure of the Petitioner to make paymentof these taxes could expose theProperty

    to tax sale, potentially harming either or both of Petitioner or Respondent.”

             So why didn’t I have U Lock object? Well I didn’t know she transferred deeds. She

    didn’t mention she did in her motion. I thought we owned the property and thus owed the

    taxes.
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            On March 16, 2022, as collateral for the stay, the Supreme Court noted, “Additionally,

    in accordance with Pa.R.A.P. 2572(d), Petitioner is hereby instructed to pay all accrued and

    unpaid real estate taxes and to keep such taxes current during the pendency of its occupancy

    of the Property.” I attach this document as well as C.


            So I take issue with this because it is not owed to Ms. Biros. It was owed by U Lock

    to the tax bureau because everyone thought it owned the property. If the deeds filed January

    26, 2022, which are subject to all liens, are valid at all considering the Rule 2572 stay, then

    that debt shift to Ms. Biros at that time.


            Also Ms. Biros represented to the Supreme Court of Pennsylvania that the taxes are

    owed to the taxing authorities, not to Ms. Biros. So how can she now claim she is the tax

    authority based on an Order she obtained from representing we owed the tax bureau (because

    U Lock owed the property). She should be estopped from now switching her position.


            So I have to object to this claim #2 settlement which the Trustee did not even consider

    this history because he never asked anyone or cared.


    PREPETITION RENT CLAIM #3


            Ms. Biros got the Trustee to agree to give her $162,000 for pre-petition rent to the

    property. She just amended her claim #3 for the pre-petition rent to a mind boggling

    $567,000. To understand the absurdity of this, the Court really need to look at the language

    of the decisions below. Ms. Biros keeps falsely stating that the Court found all the deeds to U

    Lock void. It didn’t. In Ms. Biros’ lawsuit, she never asked for any retroactive relief. She

    asked that the 2015 deeds be declared void and that the Court declare the sale never to have

    occurred, and that it should be held that the Estates (Sellers) still own the property, and that

    they should sell it to her for the amount she loaned to U Lock. But neither the state court nor
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    the Superior Court agreed with that.


              Both the state court and the Superior Court stated that the 2018 deeds from the Estates

    to U Lock conveyed lawful ownership to the Company, but because we had no money to pay

    Biros back the $305,000 she loaned us, she should get the property in lieu of a money

    judgment. I’ll be specific.


              The state judge wrote, “Even accounting for the void ab initio status of the original

    deeds, the … deeds, filed March 1, 2018, show legal title in the Subject Property belonging to

    U Lock, Inc.” He said “[t]he only equitable solution is the imposition of a constructive trust,

    and thepresentconveyance of the Subject Propertyto Plaintiff Christine Biros.” In its Order,

    the state court directed, “Legal title to the Subject Propertyshall be conveyedto Christine

    Biros by execution of the appropriate deeds, currently held in escrow.” This is from the case

    U Lock v. Biros,No. 4886 CJ 2017 on Aug. 22, 2019([KLELW'


              Now I am not a scholar, but words like “present conveyance” and “shall be conveyed”

    and “by execution of the appropriate deeds” makes me think that it means something for the

    future.


              Now U Lock appealed and the appellate court even made it more clear. They said, “In

    summary, the record supports the following conclusions: 1) Appellee paid for the Property on

    behalf of Appellant; 2) Appellee expected repayment from Appellant; 3) Appellant never

    repaid Appellee; 4) Appellee had no adequate remedy at law because Appellant lacked

    resources, other than the Property, with which to compensate Appellee. There was no dispute

    that Appellee was entitled to repayment. Thus, the trial court faced a choice between

    imposing a constructive trust and awarding the Property to Appellee or entering judgment for

    Appellant and trusting that the conclusion of this litigation would result in an influx of cash to

    Appellant with which it would, finally, repay its debt. The trial court chose the former, and
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    we conclude that it acted well within the appropriate bounds for a court sitting as fact finder.”


    That’s found at255 A.3d 489 (Pa. Super. 2021). ([KLELW(


            So I think that plainly means that instead of giving Ms. Biros a money judgment for

    $305,000, like a deed in lieu of foreclosure kind of thing without a Sheriff Sale, she just got

    the property.


            So how would she be owed rent?


            And even if that’s a compromise, the amounts, how hard would it have been for the

    Trustee to just ask Your Honor this legal question? It doesn’t make good business sense to

    settle this legal issue because they are scared to ask the Court for a quick decision.


            I believe the state courts gave her the property to compensate her for the $305,000 she

    loaned us. They said it, we were unable to pay the loan. They said it would be unjust for U

    Lock to keep the property without paying her, that I didn’t disagree with, I just thought we

    should have had a chance to pay her. But I don’t think they wanted her to get the property

    and get $567,000 in rent, or even $162,000 in rent.


            Finally Ms. Biros did ask the state judge to make us turn over the rents we collected to

    her. She asked for an accounting. He denied this part of her lawsuit. She did not appeal this.

    Now she files this claim for rent having lost the claim that we owed her for all our business

    activity. Your Honor really has to read that decision thoroughly to see how she’s trying to get

    something she already lost in a different context.


            As a final point, Ms. Biros says the basis of her claim for rent is unjust enrichment.

    But the basis of the court giving her the property was unjust enrichment. How does she get

    paid twice for unjust enrichment.
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           Unjust enrichment is equity and this Court knows, and repeatedly stated, we didn’t

    intend to run a self-storage there. We (Biros, Kash, U Lock, and I) planned to develop it into 

    a shopping center. While the litigation occurred we just maintained a few customers to pay

    the bills. It wasn’t some enterprise to make a million dollars. I couldn’t build a McDonalds

    on the property because the litigation prevented that. I couldn’t lease it or do much. The

    property was stuck in limbo.6RZHJRWQRXQMXVWHQULFKPHQW:HZRUNHG\HDUVDQG

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    FOURTH CLAIM ENVIRONMENTAL DAMAGE


           Ms. Biros filed a proof of claim #4 for environmentaldamage. That proof of claim

    didn’t list an amount but included various environmental reports.


           The trustee agreed to give her a claim for $200,000. What’s crazy about this is I don’t

    think Ms. Biros has any plans to really remediate it. I don’t think the Department of

    Environmental Protection is making them do anything except bury the spots before they

    build. In other words, they want a claim for work they won’t even do.


           Remember when this case first started. They said it was an emergency, they needed

    on the property, they needed to remediate, there are PCBs, it’s the end of the world. They got

    permission to remediate and they just had their elderly father and their brother move dirt

    around (clean fill operation). They had all this time to make a remediation plan, decide

    which contractor was the best, and rationalize it. They didn’t, they won’t, it’s fantasy, they

    will do whatever needs to be done with an excavator.


           More troubling is they admit they received an offer of $125,000 to have a third party

    remediate it, yet the Trustee is making a “settlement” of $200,000. Why?


       Amazingly, they state that Shanni Snyder’s removal of items from the propertyreduced the

                        remediation costs of their high estimate by $100,000. Did it reduce the low
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    estimate by 25% as well? I think we all know that Shanni Snyder didn’t pay anything near

    $100,000 for the work she did. This is how inflated, convoluted, and speculative the claim is.


           But here’s what’s truly disturbing about the claim.


           First, most of the so-called trash and clean up requirements came with the property.

    They can’t point to what it is U Lock allegedly did.


           Second, they keep talking about the Bigs Sanitation “accident.” I am not sure how U

    Lock would be liable for this. If the garbage truck came and spilled PCBs, you call the

    garbage truck’s insurance carrier. The Trustee has a duty to do this. He has a duty to seek

    indemnification from Bigs if he’s going to agree to $200,000. But if this was Your Honor’s

    property, and some garbage truck from a huge waste hauling company dropped PCBs,

    wouldn’t you do something to make them clean it? An ordinary, prudent, intelligent person

    would simply call the Hauler’s insurance company. But they made no attempt. In this

    Court’s Order way back in June 2022, it lifted the stay and specifically put in the Order that

    they can make an insurance claim. I know they are busy, but it’s been a year.


           How can the Trustee justify settling this without bothering to investigate the insurance

    or lodge a claim. Because the garbage truck didn’t even dump where they say the PCBs

    were. The owner of Bigs is available he came to Court twice already to testify but nobody

    was interested. The trustee just needs to call him.


           So in conclusion we have cleanup that, *if* it was ever done would cost $125,000, but

    an allowed $200,000 claim, with no explanation as to what damage came with the property,

    what damage was caused by Big’s, or what damage was caused by what.


           If anything, Ms. Biros owes the Estate for what I did clean up over the years including

    thousands of tires that were on the property when U Lock bought it, removal of many things,
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    building of access roads, etc.




    CONCLUSION


           Based on the above, I must object to the settlement. It’s in bad faith, it defies logic,

    and I think the Trustee is just scared of litigating against Ms. Biros’ legal team – and I

    understand that fear as sometimes I have to force myself to do what I think is the right thing.

    But it can’t be good business judgment to rubber stamp these demands. I guess tho at least he

    didn’t sign the motion to settle.




           March 17, 2023.




           George Snyder
           PO Box 15
           Irwin PA 15642
           412-979-9999
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         ***** DIST/CTL    54     9485 *****         TAX LIEN CERTIFICATE
                                                  Document      Page 20 ofCONTINUED
                                                                             52                                PAGE       2

                                     RECEIPT                                                         BALANCE   INT ADDED
  DATE       CODE   DESCRIPTION         NO       TAX      PENALTY    INTEREST   CHARGES   PAYMENTS     DUE      EACH MO

                                             2018 YEAR TOTALS & BALANCE    6362.44     6362.44-        .00
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
    1/22/20 200 COU-N HUNTINGDON TWP    974.15       97.42      182.75     1254.32                                7.31
    1/22/20 300 CBT-N HUNTINGDON TWP    539.28       53.93      101.00      694.21                                4.04
    1/22/20 400 SCH-NORWIN             3824.18      382.42      717.00     4923.60                               28.68

                                                        2019 TAX TOTAL          6872.13
   1/22/20   201 COU-FILING FEE                                                   45.00
   2/04/20   205 REMINDER COST                                                      .80
   5/14/20   242 ARCHIVE FEE                                                       4.00
   5/14/20   202 POSTAGE RET & CLAIM                                               5.80
   5/17/21   203 RECORD REVIEW FEE                                                10.00
   5/17/21   206 SALE PREPARATION                                                 25.00
   5/17/21   207 POSTAGE SALE NOTICE                                              12.00
   7/01/21   209 POSTING UPSET SALE                                               65.00
   7/01/21   210 ADVERTISING                                                      10.00
   8/17/21   220 PROOF OF MAIL FEE                                                 2.00

                                                      2019 FEE TOTAL             179.60
                                                  2019 YEAR TOTALS & BALANCE    7051.73       .00    7051.73      40.03

                                                            ESTIMATED BALANCE DUE NEXT MONTH       7091.76
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
    1/26/21 200 COU-N HUNTINGDON TWP    997.35       99.74       97.24     1194.33                                7.48
    1/26/21 300 CBT-N HUNTINGDON TWP    542.53       54.25       52.91      649.69                                4.07
    1/26/21 400 SCH-NORWIN             3935.57      393.56      383.76     4712.89                               29.52

                                                        2020 TAX TOTAL          6556.91
   1/26/21   201 COU-FILING FEE                                                   45.00
   2/09/21   205 REMINDER COST                                                      .80
   4/13/21   242 ARCHIVE FEE                                                       4.00
   4/14/21   202 POSTAGE RET & CLAIM                                               5.90

                                                      2020 FEE TOTAL              55.70
                                                  2020 YEAR TOTALS & BALANCE    6612.61       .00    6612.61      41.07

                                                            ESTIMATED BALANCE DUE NEXT MONTH       6653.68
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
    1/19/22 200 COU-N HUNTINGDON TWP    997.35       99.74        7.48     1104.57                                7.48
    1/19/22 300 CBT-N HUNTINGDON TWP    542.53       54.25        4.07      600.85                                4.07
    1/19/22 400 SCH-NORWIN             3935.57      393.56       29.52     4358.65                               29.52

                                                        2021 TAX TOTAL          6064.07
   1/19/22   201 COU-FILING FEE                                                   45.00

                                                      2021 FEE TOTAL              45.00
                                                  2021 YEAR TOTALS & BALANCE    6109.07       .00    6109.07      41.07

                                                            ESTIMATED BALANCE DUE NEXT MONTH       6150.14
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
                                                CLAIM TOTALS              32479.00    12705.59-   19773.41      122.17
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

                                                           ESTIMATED TOTAL DUE NEXT MONTH        19895.58
  MISC RECEIPTS - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - ---- - - - - - - -

   4/23/19   960 LIEN CERTIFICATE              801274                                                 15.00

   5/20/19   960 LIEN CERTIFICATE              803746                                                 15.00

   6/12/19 960 LIEN CERTIFICATE        806067                                                      15.00
 CREDIT CARD TRANSACTIONS - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - ---- - - - - - - -




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                    IN THE SUPREME COURT OF PENNSYLVANIA
                               WESTERN DISTRICT


  CHRISTINE BIROS, AN INDIVIDUAL,                 : No. 259 WAL 2021
                                                  :
                      Respondent                  :
                                                  :
                                                  :
               v.                                 :
                                                  :
                                                  :
  U LOCK INC., A PENNSYLVANIA                     :
  CORPORATION,                                    :
                                                  :
                      Petitioner                  :


                                         ORDER



 PER CURIAM

       AND NOW, this 16th day of March, 2022, the Application to Stay Remand of Record

 Pending United States Supreme Court Review is GRANTED. Additionally, in accordance

 with Pa.R.A.P. 2572(d), Petitioner is hereby instructed to pay all accrued and unpaid real

 estate taxes and to keep such taxes current during the pendency of its occupancy of the

 Property.




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                               2021 PA Super 104

 CHRISTINE BIROS, AN INDIVIDUAL                      IN THE SUPERIOR COURT
                                                        OF PENNSYLVANIA
                           Appellee

                      v.

 U LOCK INC., A PENNSYLVANIA
 CORPORATION

                           Appellant                   No. 1841 WDA 2019


              Appeal from the Judgment Entered January 6, 2020
            In the Court of Common Pleas of Westmoreland County
                       Civil Division at No: 17 CJ 04886


 BEFORE: SHOGAN, J., STABILE, J., and KING, J.

 OPINION BY STABILE, J.:                                 FILED: MAY 21, 2021

       Appellant, U Lock Inc., appeals from the January 6, 2020 judgment

 entered in favor of Appellee, Christine Biros. We affirm.

       The record reflects that, in 2014, Erik Martin agreed with the Estates of

 Nicholas Schur, Anne Sarris, Alex Schur, and Michael Schur (the “Estates”) for

 the purchase of real property (the “Property”) for $325,000. The agreement

 of sale listed the buyer as Erik Martin, incorporator of ULock, Inc. Martin failed

 to appear at the scheduled closing. A subsequent closing was scheduled for

 July 16, 2015. One day prior, on July 15, 2015, Appellant filed articles of

 incorporation.


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        At the closing, Appellee appeared with four cashier’s checks worth

 approximately $309,000.00 in total.1           In a brief, handwritten note which

 provided for repayment on terms to be set by August 16, 2015, Appellant

 agreed to treat the funds as a loan from Appellee. Appellee testified that she

 made the loan at the behest of her brother, John Biros, and that she never

 intended the money to be an investment in Appellant and she did not intend

 to own shares in Appellant. Kash Snyder signed the handwritten agreement

 on behalf of Appellant. The parties ultimately never agreed to the terms of

 repayment, though Appellant does not dispute its outstanding debt to

 Appellee.

        At the closing, Appellee remitted the funds directly to the Estates. The

 Estates issued a settlement statement listing the buyer of the Property as

 ULock, Inc.     Kash Snyder signed the settlement statement as director of

 Appellant. His brother George Snyder, also of Appellant, accepted delivery of

 the deeds (the “2015 Deeds”). George Snyder believed Appellee and John

 Biros would be partners in the business venture; he did not expect Appellee

 to request a repayment agreement on the day of the closing.

        On July 17, 2015, the day following the closing, the Pennsylvania

 Secretary of State issued a letter rejecting Appellant’s articles of incorporation

 because of an error in the docketing statement.          The letter provided that


 ____________________________________________


 1 The Estates had already received the remainder of the balance in hand
 money.

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 Appellant could retain the July 15, 2015 date of incorporation so long as it

 corrected the error within thirty days.          Appellant failed to make a timely

 correction, but later refiled its articles of incorporation. The Secretary of State

 accepted the new articles of incorporation on September 4, 2015.                On

 February 13, 2018, while this action was pending, the Estates issued new

 deeds to Appellant (the “2018 Deeds”). Appellant filed the 2018 Deeds with

 the recorder of deeds on March 1, 2018.2

        On May 5, 2017, Appellee sent a letter to George Snyder designating

 the outstanding balance of the loan as $385,939 and demanding, among other

 things, repayment at 9% interest with a balloon payment of the outstanding

 balance by June 1, 2022. On October 4, 2017, Appellee filed a complaint

 against Appellant and the Estates alleging and seeking a declaratory judgment

 that the July 2015 Deeds were void ab initio, and alleging equitable causes of

 action to convey title, quiet title, and for an accounting. The Estates were

 later dismissed from the action with the agreement to place blank deeds to

 the Property in the court registry. Appellant filed an answer and new matter,

 followed by several amended answers in response to Appellee’s preliminary

 objections.

        On April 1, 2019, Appellee filed a praecipe to schedule trial.         Trial

 commenced on April 29, 2019, and the trial court entered a declaration that


 ____________________________________________


 2 According to Appellee’s opening argument, the 2018 Deeds were “subject
 by the language of the deeds to Lis Pendens[.]” N.T. Trial, 4/29/19, at 16.

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 the 2015 Deeds were void ab initio. The court also entered judgment favor of

 Appellee on her action to compel conveyance of title. The court found that

 Appellant would be unjustly enriched by maintaining its ownership in the

 Property with no ability to repay Appellee the money she lent for its purchase.

 Thus, the court found that Appellant held the property in constructive trust,

 and it directed conveyance of the Property to Appellee.3

        In its post-trial motions, Appellant argued that Appellant’s declaratory

 judgment action as to the 2015 Deeds was moot, given the 2018 Deeds and

 the lack of any challenge as to their efficacy.     Appellant also argued that

 indispensable parties were absent, given Appellee’s assertions: (1) that the

 2015 Deeds were void ab initio, and (2) that Appellant was not the valid owner

 of the Property.        Also, Appellant argued that Appellee did not plead

 constructive trust and unjust enrichment in her complaint and did not argue

 for it until the proposed conclusions of law she submitted at the conclusion of

 trial. Appellant argued that Appellee’s unsecured loan did not entitle her to

 any of the remedies the trial court granted, and that she had an adequate

 remedy at law.

        The trial court conducted a hearing on the post-trial motions on

 November 8, 2019. The trial court denied Appellant’s post-trial motions by

 ____________________________________________


 3 The trial court also held that the quiet title action was moot, and that entry
 of an accounting was not appropriate in an action at equity.




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 order of December 9, 2019. The verdict was reduced to judgment on January

 6, 2020. We now turn to the issues Appellant raises in this timely4 appeal.

        On appeal from a non-jury trial, we are mindful of the following:

        Our appellate role in cases arising from non-jury trial verdicts is
        to determine whether the findings of the trial court are supported
        by competent evidence and whether the trial court committed
        error in any application of the law. The findings of fact of the trial
        judge must be given the same weight and effect on appeal as the
        verdict of a jury. We consider the evidence in a light most
        favorable to the verdict winner. We will reverse the trial court
        only if its findings of fact are not supported by competent evidence
        in the record or if its findings are premised on an error of law.
        However, [where] the issue ... concerns a question of law, our
        scope of review is plenary.

        The trial court’s conclusions of law on appeal originating from a
        non-jury trial are not binding on an appellate court because it is
        the appellate court’s duty to determine if the trial court correctly
        applied the law to the facts of the case.

 Stephan v. Waldron Elec. Heating & Cooling LLC, 100 A.3d 660, 664–65

 (Pa. Super. 2014)

        The first three of Appellant’s six assertions of error are related, and we

 consider them together.

        I.     Whether the court lacked jurisdiction to grant declaratory
               and equitable relief as to the moot issue regarding the [2015
               Deeds] considering the new [2018 Deeds]?



 ____________________________________________


 4 Appellant filed its notice of appeal prematurely before the entry of judgment.
 We will treat Appellant’s premature appeal as one from the January 6, 2020
 judgment and entertain jurisdiction. See Johnston the Florist v. TEDCO
 Constr. Corp., 657 A.2d 511, 514-15 (Pa. Super. 1995) (holding that this
 Court will entertain an appeal where the notice of appeal predates the entry
 of judgment).

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        II.    Whether the court lacked jurisdiction as a result of the
               failure to join indispensable parties?

        III.   Whether the court erred by finding that filing mistake as to
               [Appellant’s] corporation papers warranted finding deeds
               void ab initio and transferring property to an unsecured
               creditor? ‘

 Appellant’s Brief at 5.

        As set forth above, Appellant filed its articles of incorporation the day

 before the 2015 closing, but the Commonwealth Secretary of State rejected

 them. Appellant failed to cure the defect in time, and so its official date of

 incorporation, September 4, 2015, postdates the transaction in which the

 Estates transferred the Property to Appellant. On that basis, Appellee asked

 the trial court to declare the 2015 Deeds void ab initio, and the court did so.

 Appellant argues that any defect in the 2015 Deeds was cured and rendered

 moot when the Estates issued the 2018 Deeds. Appellant also argues that

 either 1) it was a de facto corporation pursuant to 15 Pa.C.S.A. § 5045 on July


 ____________________________________________


 5   That section provides:

        Where heretofore or hereafter any act has been or may be done
        or any transfer or conveyance of any property has been or may
        be made to or by any corporation created or intended to be
        created under any statute supplied or repealed by this part, in
        good faith, after the approval of the articles or application for a
        charter or issuance of letters patent but without the actual
        recording of the original papers with the endorsements thereon,
        or a certified copy thereof, in the office of any recorder of deeds,
        as provided in such statutes then in force, the acts, transfers and
        conveyances shall nevertheless be deemed and taken to be valid
        and effectual for all purposes, regardless of the omission to record



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 15, 2015, the date of transfer of the 2015 Deeds, or 2) Appellee failed to join

 indispensable parties—namely the officers, directors, and/or shareholders of

 the corporation to be.

        “An issue before a court is rendered moot when a determination is

 sought in a matter which, when rendered, cannot have any practical effect on

 the existing controversy.” Printed Image of York, Inc. v. Mifflin Press,

 Ltd., 133 A.3d 55, 59 (Pa. Super. 2016). On consideration of the facts before

 us, we conclude that the efficacy of the 2015 Deeds can have no effect on the

 ultimate outcome of this case. Appellant has not challenged the efficacy of

 the 2018 Deeds. Appellant cites no legal authority preventing the Estates from

 issuing the 2018 Deeds subject to Lis Pendens. Furthermore, the trial court

 accepted the legitimacy of the 2018 Deeds: “Even accounting for the void ab

 initio status of the [2015 Deeds], the corrective [2018 Deeds], show legal title

 in the [Property] belonging to U Lock, Inc.      Certainly, U Lock has had full

 possession and control of the [Property] since July 16, 2015 […].” Trial Court

 Opinion, 8/23/19, at 5. The 2018 Deeds did not prejudice Appellant’s cause

 of action. In some ways, they facilitated it. Because of the 2018 Deeds, there


 ____________________________________________


        the original papers with the endorsements thereon, or a certified
        copy thereof, as heretofore required by such statutes. Every such
        corporation shall be deemed and taken to have been incorporated
        on the date of approval of its articles or application for a charter
        or on the date of issuance of its letters patent, whichever event
        shall have last occurred.

 15 Pa.C.S.A. § 504.

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 can be no dispute that Appellant is the proper party in interest, and therefore

 the trial court had jurisdiction over Appellant’s action for conveyance of title.

 Likewise, we have no need to determine whether Appellant, as of the July 15,

 2015 closing, met the definition of a de facto corporation.       In short, the

 efficacy—or lack thereof—of the 2015 Deeds has no bearing on the relief the

 trial court ultimately ordered—imposing a constructive trust on the Property

 and ordering its conveyance to Appellee. Thus, we come to Appellant’s fourth

 assertion of error, and the heart of the matter:

       IV.   Whether the court erred in granting judgment and
             transferring ownership of the [P]roperty through a
             constructive trust when: (a) No allegations, facts, or
             theories or demand for for [sic] establishing a constructive
             trust were contained in the complaint or at trial; (b) No
             setting of the terms and conditions of the loan occurred by
             the trial court; (c) Transferring the [P]roperty under a
             constructive trust created an unjust enrichment and
             windfall; (d) Ordinary causes of action and a money
             judgment would have resolved the controversy?

 Appellant’s Brief at 5.

       The following law governs the imposition of a constructive trust:

             A constructive trust arises when a person holding title to
       property is subject to an equitable duty to convey it to another on
       the ground he would be unjustly enriched if he were permitted to
       retain it.    The necessity for such a trust may arise from
       circumstances evidencing fraud, duress, undue influence or
       mistake.     The controlling factor in determining whether a
       constructive trust should be imposed is whether it is necessary to
       prevent unjust enrichment.

 Nagle v. Nagle, 799 A.2d 812, 819 (Pa. Super. 2002) (citations omitted),

 appeal denied, 820 A.2d 162 (Pa. 2003).



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       “There is thus no rigid standard for determining whether the facts of a

 particular case require a court of equity to impose a constructive trust; the

 test is whether or not unjust enrichment can thereby be avoided.” Stauffer

 v. Stauffer, 351 A.2d 236, 241 (Pa. 1976). “This Court has repeatedly cited

 with approval the oft-quoted language of Justice (then Judge) Cardozo in

 Beatty v. Guggenheim Exploration Co., 122 N.E. 378, 380-81 (N.Y. 1919):

       A constructive trust is the formula through which the conscience
       of equity finds expression. When property has been acquired in
       such circumstances that the holder of the legal title may not in
       good conscience retain the beneficial interest equity converts him
       into a trustee … A court of equity in decreeing a constructive trust
       is bound by no unyielding formula. The equity of the transaction
       must shape the measure of relief.

 Id. “To introduce the issue of a constructive trust a plaintiff must allege that

 the putative trustee had legal title to the property, and that were he to retain

 it, he would be unjustly enriched.” Buchanan v. Brentwood Fed. Sav. and

 Loan Ass’n, 320 A.2d 117, 127 (Pa. 1974).

       Appellant argues that the trial court’s imposition of a constructive trust

 must fail because Appellee did not specifically request the imposition of a

 constructive trust in her complaint. We disagree. In her complaint, Appellee

 alleges that she paid for the Property and that deeds were delivered to

 Appellant.   Complaint, 10/4/17, at ¶¶ 10-11.      In her cause of action for

 declaratory judgment, Appellee asked for a declaration that she was the

 equitable owner of the property. Id. at ¶ 21(v). Further, in her cause of

 action for equitable conveyance of title, Appellee alleged that she paid the



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 Estates for the Property, that Appellant paid no money toward the purchase

 of the Property, that Appellant never reimbursed Appellee for the payment,

 and that Appellee, therefore, was entitled to own the Property in fee simple.

 Id. at ¶¶ 22-29. Thus, while the words “unjust enrichment” and “constructive

 trust” are absent from Appellee’s complaint, she very clearly pled the elements

 of a constructive trust in accord with Buchanan, and the parties litigated

 those elements at trial.6 Indeed, Appellant concedes that Appellee paid for

 the Property; that she deserves to be repaid; and that Appellant has not repaid

 her.

        Further, the record supports the trial court’s finding that Appellant lacks

 the financial wherewithal to repay Appellee, as evidenced in this exchange

 between Appellant’s counsel and George Snyder:

        Q.     Do you agree that you still owe this money, or U Lock, or
               someone, owes this money to [Appellee]?

        A.     Yes, I do.

        Q.     Are you attempting to try and make arrangements to pay
               that back?

        A.     Well, yes. We could at any time that the Lis Pendens – the
               deed makes it difficult.

        Q.     Okay. Are you willing to attempt to get that money together
               to pay her?

        A.     Absolutely.

 ____________________________________________


 6  See also, Marion v. Bryn Mawr Tr. Co., ___ A.3d ___ (Pa. Super. 2021)
 (looking at the substance of a cause of action, rather than its title, to
 determine whether the plaintiff alleged a valid cause of action).

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        Q.     Do you have people that want to become involved in your
               corporation, after this lawsuit is over, that would give you
               money to be able to pay her off?

        A.     A whole list of people are very interested.

 N.T. Trial, 4/29/19, at 49 (emphasis added). The trial court could reasonably

 find from the bolded portion of this passage that Appellant could not, without

 alienating the Property, repay Appellee. At other times during trial, the trial

 court heard evidence that Appellant had limited resources, that it was not run

 in accordance with applicable corporate law, and that it had never filed a

 corporate tax return.7        From this, the trial court could reasonably reject

 George Snyder’s self-serving testimony about his “whole list” of wiling

 investors waiting for this litigation to go away.

        In summary, the record supports the following conclusions: 1) Appellee

 paid for the Property on behalf of Appellant; 2) Appellee expected repayment

 from Appellant; 3) Appellant never repaid Appellee; 4) Appellee had no

 adequate remedy at law because Appellant lacked resources, other than the

 Property, with which to compensate Appellee.            There was no dispute that

 Appellee was entitled to repayment.            Thus, the trial court faced a choice

 between imposing a constructive trust and awarding the Property to Appellee

 ____________________________________________


 7 George Snyder testified that Appellant never filed tax returns. N.T. Trial,
 8/29/19, at 52.      He was unsure whether Appellant ever issued stock
 certificates to its 800 shareholders, and Appellant never sent an Internal
 Revenue Service Form 1099 to any shareholder. Id. at 51-52. Appellant
 maintained no insurance on the Property. Id. at 52. George Snyder believed
 Appellant had corporate bylaws and minutes, but Appellant was unable to
 produce them in discovery. Id. at 54.

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 or entering judgment for Appellant and trusting that the conclusion of this

 litigation would result in an influx of cash to Appellant with which it would,

 finally, repay its debt. The trial court chose the former, and we conclude that

 it acted well within the appropriate bounds for a court sitting as fact finder.

       That Appellant alleged causes of action for a declaratory judgment

 (including a declaration that she is the owner of the Property) and equitable

 conveyance of title, rather than for a constructive trust, does not alter our

 result. As we have explained, the relief the court imposed is in accord with

 the facts alleged in the complaint, the relief sought in the complaint, and the

 issues litigated at trial.

       For all the foregoing reasons, we discern no error in the trial court’s

 imposition of a constructive trust on the Property and its direction that

 ownership thereof be transferred to Appellee.

       In its fifth assertion of error, Appellant claims the trial court erred in

 scheduling a “snap trial” before the completion of discovery, and in denying

 Appellant’s motion to continue the trial. Appellant’s Brief at 5. The trial court

 acknowledges that its decision to schedule the trial was not in accord with the

 Westmoreland County Rules of Civil Procedure. The court reasoned, however,

 that Appellant suffered no prejudice from its action. The trial court cited Rule

 126 of the Pennsylvania Rules of Civil Procedure, which permits it to “disregard

 any error or defect of procedure which does not affect the substantial rights

 of the parties.” Pa.R.C.P. No. 126. In its brief, Appellant complains that it


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 was deprived of the opportunity to test Appellee’s claims through discovery,

 but Appellant fails to specify any additional discovery it would have sought.

 Likewise, Appellant does not explain precisely how the scheduled order

 hampered its ability to defend itself in this case. For these reasons, Appellant

 is not entitled to relief on this issue.

       In its sixth and final assertion of error, Appellant claims the trial court

 erred in sustaining Appellee’s preliminary objection to scandalous and

 impertinent material set forth in Appellant’s answer and new matter to

 Appellee’s complaint. Appellant alleged that the funds Appellee used to pay

 for the property were derived from illicit gambling activity. Rule 1028(a)(2)

 permits a preliminary objection for “failure of a pleading to conform to law or

 rule of court or inclusion of scandalous or impertinent matter[.]” Pa.R.C.P.

 No. 1028(a)(2). “In order to be scandalous or impertinent, ‘the allegation

 must be immaterial and inappropriate to the proof of the cause of action.’”

 Breslin v. Mountain View Nursing Home, Inc., 171 A.3d 818, 822 (Pa.

 Super. 2017) (quoting Common Cause/Pennsylvania v. Commonwealth

 of Pennsylvania, 710 A.2d 108 (Pa. Commw. 1998)). We will reverse an

 order sustaining a preliminary objection only if the trial court committed an

 error of law or abuse of discretion. Id. at 822.

       The trial struck the allegation as immaterial and inappropriate to this

 case of action. We agree. Whatever the source of Appellee’s funds, she pled

 and proved that she paid for the Property expecting repayment, and that


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 Appellant has remained in possession and enjoyment of the Property ever

 since, without any apparent ability to make repayment. Thus, the source of

 Appellee’s funds has no obvious bearing on the equities between the parties

 to this case. We discern no error of law or abuse of discretion in the trial

 court’s decision.

       For all the foregoing reasons, we affirm the trial court’s judgment in

 favor of Appellee.

       Judgment affirmed.

       Judge King joins the opinion.

       Judge Shogan concurs in the result.

 Judgment Entered.




 Joseph D. Seletyn, Esq.
 Prothonotary



 Date: 5/21/2021




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